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 1          TO THE CLERK OF THE ABOVE-ENTITLED COURT:
 2          PLEASE TAKE NOTICE that defendant Equable Ascent Financial, LLC, a
 3 Delaware Limited Liability whose principal place of business is in Buffalo Grove,
 4 Illinois hereby removes to this Court the state court action described below.
 5          1.     On August 6, 2012, a complaint was filed against defendants by
 6 plaintiffs Maria Esmeralda Chinchilla and Ely Maricio Chinchilla Jr. alleging claims
 7 of fraud and violations of California Business and Professionals Code § 17200, in an
 8 action pending in the Superior Court of the State of California in and for the County
 9 of Los Angeles, entitled Chinchilla v. Equable Ascent Financial, LLC et al, original
10 Case No.12C02498. A copy of the original state court Complaint, Summons,
11 Declaration, and other documents related to Plaintiffs’ original pleading are attached
12 hereto as Exhibit A.
13          2.     On March 21, 2013, Plaintiff Maria Esmeralda Chinchilla (“Plaintiff”)
14 filed a First Amended Complaint and a First Amended Summons was issued.
15 Plaintiff’s First Amended Complaint omitted Ely Maricio Chinchilla Jr. from the
16 action and added allegations that defendants violated of the California Fair Debt
17 Collection Practices Act, Cal. Civ. Code §§ 1788, et seq., which Plaintiff claims arise
18 under various sections of the Fair Debt Collection Practices Act, 15 U.S.C. §§ 1692,
19 et seq. A copy of the First Amended Complaint and First Amended Summons are
20 attached hereto as Exhibit B.
21          3.     On April 10, 2013, this case was renumbered from WH 12C02498 to
22 LAM12CW2498. A copy of the docket report from the state court action is attached
23 hereto as Exhibit C.
24          4.     This removal petition is timely under 28 U.S.C. § 1446(b) because
25 Defendant Equable Ascent Financial, LLC (“Defendant’) was served with the First
26 Amended Complaint on April 10, 2013.
27
28

     CHINCHILLA v. EQUABLE ASCENT FINANCIAL, LLC et al. (CASE NO.: )
     NOTICE OF REMOVAL                                                                     1
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 1                                        JURISDICTION
 2          1.     This action is a civil action of which this Court has original jurisdiction
 3 under 28 U.S.C. § 1331 and which may be removed to this Court by Defendant
 4 pursuant to the provisions of 28 U.S.C. § 1441(b) in that the Complaint alleges
 5 claims against defendants that arise under federal law. See Exhibit B, First Amended
 6 Complaint.
 7          2.     The United States Supreme Court has held that “in certain cases
 8 federal-question jurisdiction will lie over state-law claims that implicate significant
 9 federal issues[,]” therefore “a federal court ought to be able to hear claims recognized
10 under state law that nonetheless turn on substantial questions of federal law.”
11 Grable & Sons Metal Products, Inc. v. Darue Eng'g & Mfg., 545 U.S. 308, 312
12 (2005). “[A] a state-law claim could give rise to federal-question jurisdiction so long
13 as it ‘appears from the [complaint] that the right to relief depends upon the
14 construction or application of [federal law].’” Id. (citing Smith v. Kansas City Title &
15 Trust Co., 255 U.S. 180, 199 (1921)).
16          3.     In Plaintiff’s First Amended Complaint (“FAC”), the operative
17 complaint in this action at the time of removal, the first cause of action is for
18 violations of the California Fair Debt Collection Practices Act (the “Rosenthal Act”),
19 Cal. Civ. Code §§ 1788, et seq. Plaintiff admits on the face of her FAC that the first
20 cause of action is based upon and arises under various sections of the Fair Debt
21 Collection Practices Act (“FDCPA”), 15 U.S.C. §§ 1692, et seq. See Exhibit B, First
22 Amended Complaint, ¶¶ 20-27.
23          4.     Further, Plaintiff’s FAC is filled with citations to, and reliance on,
24 various sections of the FDCPA. See id. In her first cause of action (“COA”),
25 Plaintiff correctly notes that section 1788.17 of the Rosenthal Act incorporates
26 violations of the FDCPA. The pleading then alleges that defendants violated section
27 1788.17 of the Rosenthal Act by violating sections 1692e(2), 1692e(5), 1692e(8),
28 1692f, and 1692f(1) of the FDCPA as follows:

     CHINCHILLA v. EQUABLE ASCENT FINANCIAL, LLC et al. (CASE NO.: )
     NOTICE OF REMOVAL                                                                           2
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 1          a. Section 1692e(2) [of the FDCPA] which prohibits ‘the false
 2          representation of (A) the character, amount or legal status of any debt’ in
 3          that defendants sough to be paid on the debt directly from plaintiff, though
 4          she is not the judgment debtor[;]
 5          b. Section 1692e(5) [of the FDCPA] which prohibits ‘the threat to take any
 6          action that cannot legally by taken or that is not intended to be taken’ in
 7          that the defendant sough to be paid on the debt directly from plaintiff,
 8          though she is not the judgment debtor[;]
 9          c. Section 1692e(8) [of the FDCPA] which prohibits ‘communicating or
10          threatening to communicate to any person credit information which is
11          known or which should be known to be false, including the failure to
12          communicate that a debt is disputed, in that defendants through their
13          collection agents, have reported to one or more credit reporting agencies
14          that the debt is plaintiff’s responsibility even though plaintiff is not a
15          judgment debtor[;]
16          d. Section 1692f [of the FDCPA] which prohibits the use of ‘unfair or
17          unconscionable means to collect or attempt to collect any debt’ in that
18          defendant sought to be paid directly from plaintiff though she is not the
19          judgment debtor[; and]
20          e. Section 1692f(1) [of the FDCPA] which prohibits ‘the collection of any
21          amount (including any interest, fee, charge, or expense incidental to the
22          principal obligation) unless such amount is expressly authorized by the
23          agreement creating the debt or permitted by law’ in that defendants sought
24          to be paid on the debt directly from plaintiff, though she was not the
25          judgment debtor[.]
26 See Exhibit B, First Amended Complaint, ¶ 25(a)-(e).
27          5.     Plaintiff’s first cause of action is solely based on alleged violations of
28 the FDCPA and thus “turns on substantial questions of federal law” within the

     CHINCHILLA v. EQUABLE ASCENT FINANCIAL, LLC et al. (CASE NO.: )
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                                         Exhibit A
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                                          Exhibit B
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                                          Exhibit C
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Case Summary



   Case Number: 12CW2498
   CHINCHILLA, MARIA ESMERALDA VS. EQUABLE ASCENT FINANCIAL, LLC
   Court: Stanley Mosk Courthouse


   Original Case Number: 12C02498
   Original Court: Whittier Courthouse

   Filing Date: 08/06/2012
   Case Type: OTHER REAL PROP. (Limited Jurisdiction)
   Status: PENDING

   Future Hearings

   09/19/2013 at 08:30 AM in department 77 at 110 North Grand Ave., Los Angeles, CA 90012
   ORDER TO SHOW CAUSE



                                                  History Information
   Parties

   Plaintiff: CHINCHILLA MARIA ESMERALDA
   Attorney: LAW OFFICES OF ANJU MULTANI - ANJU MULTANI

   Plaintiff: CHINCHILLA ELY MAURICIO JR.
   Attorney: None

   Defendant: EQUABLE ASCENT FINANCIAL LLC
   Attorney: None

   Defendant: CIR LAW OFFICES
   Attorney: None

   Defendant: MURREN TARA
   Attorney: None

   Defendant: MIXER MICHAL J.
   Attorney: None

   Defendant: CLINNIN JOHN
   Attorney: None

   Defendant: DOE
   Attorney: None



                                                  Party Information
   Histories (Dates listed in descending order)

   04/10/2013 * CASE RENUMBERED FROM WH 12C02498 TO LAM12CW2498




http://www.lasuperiorcourt.org/civilcasesummarynet/ui/popupCaseSummary.aspx                 5/6/2013
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   04/09/2013 STIPULATION AND ORDER APPOINTING TEMPORARY JUDGE SIGNED AND
   FILED.

   04/09/2013 CAUSE CALLED AT 09:30A M, IN DEPT. 007 , HON. JAMES
   LEBERTHON, JUDGE PRO TEM PRESIDING FOR HEARING ON OSC WHY
   SANCTIONS OR A DISMISSAL OF THE ENTIRE ACTION SHOULD NOT
   BE IMPOSED. MATTER CONTINUED TO 09/19/13 AT 08:30A M,
   IN DEPT. 077 . CASE REASSIGNED TO THE STANLEY MOSK
   COURTHOUSE FOR FURTHER PROCEEDINGS. NOTICE WAIVED.

   04/09/2013 * CASE REASSIGNED TO THE STANLEY MOSK COURTHOUSE FOR
   FURTHER PROCEEDINGS.

   03/26/2013 CAUSE CALLED AT 09:30A M, IN DEPT. 007 , HON. DANIEL
   P. RAMIREZ, JUDGE PRESIDING FOR HEARING ON OSC WHY
   SANCTIONS OR A DISMISSAL OF THE ENTIRE ACTION SHOULD NOT
   BE IMPOSED. SPECIAL APPEARANCE BY PAULA SKERSTON FOR
   PLAINTIFF. DEFENDANT/ATTORNEY TARA MUREN APPEARING IN
   PROPRIA PERSONA. MATTER CONTINUED TO 04/09/13 AT
   09:30A M, IN DEPT. 007 . NOTICE WAIVED.

   03/21/2013 SUBSTITUTION OF ATTORNEY FILED FOR PLAINTIFF
   (CHINCHILLA, MARIA ESMERALDA)

   03/21/2013 1ST AMENDED COMPLAINT FILED. SUMMONS ISSUED.

   03/21/2013 SUMMONS FILED 1ST .

   02/28/2013 REJECT SHEET SENT TO (CHINCHILLA, MARIA ESMERALDA) FOR
   REJECTION OF DEFAULT PACKET ***** 2ND REJECT RE: SAME
   MATTER. THE NAMES ON THE REQUEST FOR ENTRY OF DEFAULT DO
   NOT MATCH THE COMPLAINT FILED AND THE NAMES ON THE
   JUDGMENT FORM ARE NOT CORRECT EITHER. ALL SUBMITTED ON
   02/28/13

   02/08/2013 REJECT SHEET SENT TO (CHINCHILLA, MARIA ESMERALDA) FOR
   REJECTION OF REQUEST FOR ENTRY OF DEFAULT *** NAMES ON
   THE REQUEST DO NOT MATCH THE NAMES ON THE COMPLAINT (THEY
   HAVE TO MATCH EXACTLY). CLERKS OFFICE DOES NOT UNDERSTAND
   WHAT OTHER DOCUMENTS THAT WERE FILED ARE FOR. SUBMITTED
   ON 02/08/13

   01/18/2013 RECEIVED THE SUM OF $ 13.50 FOR PHOTOCOPIES. RECEIPT #
   WH285409002 .

   01/18/2013 CASE MANAGEMENT ORDER SIGNED AND FILED BY DANIEL P.
   RAMIREZ, JUDGE . MATTER SET FOR ORDER TO SHOW CAUSE WHY
   SANCTIONS OR A DISMISSAL OF THE ENTIRE ACTION SHOULD NOT
   BE IMPOSED FOR FAILURE TO FILE ANY AND ALL
   PAPERS/DOCUMENTS NECESSARY TO BRING THE MATTER TO TRIAL
   OR TO EFFECT A FINAL DISPOSITION AS TO ALL ISSUES AND
   PARTIES TO THE ACTION. HEARING ON 03/26/13 AT 09:30A
   M, IN DEPT. 007 . CLERK'S CERTIFICATE OF SERVICE
   MAILED/GIVEN TO RESPECTIVE PARTIES/COUNSEL.




http://www.lasuperiorcourt.org/civilcasesummarynet/ui/popupCaseSummary.aspx   5/6/2013
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   08/16/2012 NON-APPEARANCE CASE MANAGEMENT REVIEW SCHEDULED FOR
   01/14/13 AT 09:30A M, IN DEPT. CMR . CLERK`S
   CERTIFICATE OF SERVICE MAILED/GIVEN TO RESPECTIVE
   PARTIES/COUNSEL ON 08/16/12

   08/06/2012 COMPLAINT FILED. RN WH285409023.

   08/06/2012 SUMMONS ISSUED.

   08/06/2012 SUMMONS FILED.

                          Case Information | Party Information | History Information




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